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Case 2:01-cr-20085-BBD Document 385 Filed 06/08/05 Page 1 of 6 Page|D 431
UNITED STATES DISTRICT COURT
Fll.Ef.) .B`z" _; )m_ U_(;_

for

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CLEF£K, L=‘.S. i`.`)£ST. CT.
WES'I`ERN DIVISI()N WD` OF TN, t-.-’ii§t"»rl?”t'l!$

WESTERN DISTRICT OF TENNESSEE

U.S.A. vs. Larrv Joe Truelove Docket No. 01-20085-04
Petition on Probation and Supervised Release
COMES NOW Gerald Hunt PROBATION OFFICER OF THE COURT presenting an official
report upon the conduct and attitude of Lan'v .Ioe Truelove who was placed on supervision by the Honorable

Julia Smith Gibbons sitting in the court at Mernp_his, TN on the _S_rd_ day ofJanM , 2002 who fixed the period

of supervision at three 131 years* , and imposed the general terms and conditions theretofore adopted by the court
and also imposed special conditions and terms as follows:

l. The defendant shall participate in a drug treatment/testing program as directed by the Probation Oche.

*Supervised Release began on March 28, 2003.

RESPECTFULLY PRESENTING PETITION F()R ACTION OF COURT FOR CAUSE AS FOLLOWS:

(If short insert hera: if lengthy write on separate sheet and attach}

SEE ATTACHED

PRA¥ING THAT THE COURT WILL ORDER a Warrant be issued for Larry Joe Truelove to appear before the
United States District Court to answer charges of violation of Supervised Release.

     
  

BOND:
ORDER OF COURT I declare under penalty of perjury that the
W foregoing is true and correct.
Co ed and ordered this day
0 200 and ordered Executed

made a part of the ords in the on gsu N¢/ §§ . 900 \"'

,/W VBM west

U. S. Probation Officer

 

U ited States_{ljistrict judge
Place Memohis. TN

*'i'lls document entered ott the docket sheet in$cynpliance
.,\,\.1`1'\. mile ;.‘5 arr=.i/or 32(b) FRCrP on if ’E'O

RE: Larry Joe Truelove
D¢@lieeNddiher-:ZMDMEM DOcument 385 Filed 06/08/05 Page 2 of 6 Page|D 432

Page 2
RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
The defendant has violated the following conditions of his Supervised Release:
The defendant shall not commit another federal, state, or local crime.

On May 19, 2005, Mississippi Bureau of Narcotics SCA Gary Bryd received a phone call from Marshall County
Police Dispatch. The dispatcher notified Byrd that they had received a call stating that a suspicious vehicle and
several subjects Were present across from 843 Lee Creek Road where a Meth lab had previously been discovered
Upon arrival, law enforcement officers made contact with two subjects identified as Larry Truelove and Eric
Dorrnayer. Agent Byrd spoke with Truelove and obtained consent to search his vehicle a 1999 Buick Regency. After
consent was obtained, Truelove stated that he had a tank of Anhydrous Ammonja in the trunk. Investigation led to
the discovery of various items used to manufacture methamphetamine Mr. Truelove and Mr. Donnayer was then
transported to the Marshall County Sheriff’ s Department and charged with Possession of Controlled Substance, To
-wit: Methamphetamine, Possession of Anhydrous Ammonia, Possession of Precursors, and Manufacture of
Controlled Substance, To - wit: Metharnphetamine. Mr. Truelove’s next court appearance has been scheduled for
June 13, 2005, Justice Court, Marshall County, Mississippi.

The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by
a law enforcement officer.

On May 19, 2005, Mr. Truelove was arrested for Possession of Methamphetamine with lntent to Resale. The
defendant failed to notify the U. S. Probation Officer within 72 hours of being arrested on the above mentioned
charge

The defendant shall not leave the judicial district without the permission of the court or probation officer.
On May 19, 2005 , Mr. Truelove was arrested for Possession of Methamphetamine with lntent to Resale in Marshall
County, Mississippi. Mr. Truelove failed to request permission from the court or probation officer to travel outside
the Western District of Tennessee.

The defendant shall not illegally possess a controlled substance .

On May 18, 2005, Mr. Truelove submitted a urine screen which tested positive for methamphetamine

The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with
any person convicted of a felony unless granted permission to do so by the probation officer

When Mr. Truelove was arrested on May 19, 2005, he was in the company of Eric Dormayer, a convicted felon. Mr.
Truelove has never been given permission to associate with En`c Dormayer.

VIOLATION WORKSHEET
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Defendant Larry Truelove, 1385 Quail Brook #l, Memphis, TN 38134

 

 

Docket Num ber (Year-Sequence-Defendant No.) 01-CR20085-04
District/Oi`flce Western District of Tennessee (Memphis)
Original Sentence 01 /3__/ 2002

Date month day year

(if different than above):

5.
6.

7.

10.

ll.

Original DistricUOffice

 

Original Docket Nnmber (Year-Sequence-Defendant No.)

 

L.ist each violation and determine the applicable grade {M §7Bl.l}:

Violationgs[ Grade
New Arrest: Manufacturing Metharnphetamine

>

Possession of a controlled substance

Traveling outside district without permission

 

F ailure to report arrest within 72 hours

 

OOODJ

Association with a convicted felon engaged in criminal activity

 

 

 

Most Serious Grade of Violation (_se_e §7Bl.l(b)) A
Criminal History Category (s@ §7Bl.4(a))74 ll
Range of imprisonment (st£ §7B1.4(a)) 15 -21 months

 

 

 

*Being originally convicted of a Class C Felony, the statutory maximum term of imprisonment is two (2) years; 18 U.S.C.
§3583(e)(3).

Sentencing Options for Grade B and C Violations Only (Check the appropriate box):

{ } (a)lfthe minimum term of imprisonment determined under §7B l .4 (Tenn of lmprisonment) is at least one month but not
more than six months, §7Bl .3(c)(l) provides sentencing options to imprisonment

{ } (b)lf the minimum term of imprisonment determined under §7B l .4 (Term of lmprisonment) is more than six months but
not more than ten months, §7Bl .3(0)(2) provides sentencing options to imprisonment

{ X} (c)lf the minimum term of imprisonment determined under §7B1.4 (Term oflmprisonment) is more than ten months, no
sentencing options to imprisonment are availabie.

Mai| documents to: United States Sentencing Commission, 1331 Pennsylvania Avenue, N.W
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

13.

14.

15.

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Unsatisfied Conditions of Original Sentence

List any restitution, fine, community confinement, home detention, or intermittent confinement previously imposed in connection
with the sentence for which revocation is ordered that remains unpaid or unserved at the time of revocation {s_e_g §7B l .3(d)}:

 

 

 

Restitution ($) N/A Community Confinement N/A
Fine ($) N/A Home Detention N/A
Other N/A intermittent Confmement N/A

 

Supervised Release

lf probation is to be revoked, determine the length, ifany, of the tenn of supervised release according to the provisions of §§5D l. l -
l -3{@ §§7131-3(§)(1)}-

Terrn: to years
lf supervised release is revoked and the term of imprisonment imposed is less than the maximum term of imprisonment impossible
upon revocation, the defendant may, to the extent permitted by law, be ordered to recommence supervised release upon release

from imprisonment {M 18 U.S.C. §3583(e) and §7B1 .3(g)(2)}.

Period of supervised release to be served following release from imprisonment

Departure

List aggravating and mitigating factors that may warrant a sentence outside the applicable range of imprisonment

 

 

 

 

 

 

 

 

 

 

 

Oliicial Detention Adjustrnent {§e_§ §7Bl.3(e)}: months days

Mail documents to: United States Sentencing Commission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit`

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Mr. Truelove has a history of substance abuse as reported in his presentence investigation The
underlying charge is a drug offense and he was recently arrested on a new drug charge. lt is
recommended Mr. Truelove be held without bond pending disposition of the revocation matter, as
it appears that no conditions or combination of conditions will insure his compliance with
bail/supervision requirements, specifically to refrain from drug usage and criminal activity.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 385 in
case 2:01-CR-20085 was distributed by faX, mail, or direct printing on
.lune 8, 2005 to the parties listed

 

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

